                 IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                    :
                                            :    1:23CR260-2
            v.                              :
                                            :
REMY RA ST FELIX                            :

                   DECLARATION OF PUBLICATION

      Pursuant to 21 U.S.C. § 853(n)(1) and the Attorney General’s authority

to determine the manner of publication of an Order of Forfeiture in a criminal

case, notice of the forfeiture was posted on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days, beginning September 27,

2024 and ending on October 26, 2024. (See Attachment 1).

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 13, 2024 at Greensboro, North Carolina.

                                            Respectfully submitted,

                                            SANDRA J. HAIRSTON
                                            United States Attorney

                                            /s/ Eric L. Iverson
                                            Eric L. Iverson
                                            Assistant United States Attorney
                                            NC Bar #46703
                                            Middle District of North Carolina
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Attachment 1


                         UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
              COURT CASE NUMBER: 1:23CR260-2; NOTICE OF FORFEITURE

        Notice is hereby given that on September 11, 2024, in the case of U.S. v. Remy RA
ST Felix, Court Case Number 1:23CR260-2, the United States District Court for the Middle
District of North Carolina entered an Order condemning and forfeiting the following
property to the United States of America:

       Men's 10k yellow gold Cuban link chain and 10k yellow gold Last Supper pendant
       Ser No: none (24-FBI-004383), including the following items: 1 10k yellow gold
       hollow Cuban link chain, Ser No: none which was seized from Remy Ra St. Felix on
       November 27, 2023 at 380 Hempstead Turnpike, located in West Hempstead, NY

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (September 27, 2024) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, 324 W. Market Street, Greensboro, NC 27401,
and a copy served upon Assistant United States Attorney Lynne Klauer, 101 S. Edgeworth
Street, 4th Floor, Greensboro, NC 27401. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this




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notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Lynne Klauer, 101 S. Edgeworth Street, 4th Floor, Greensboro, NC 27401. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.




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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between September 27, 2024 and October 26, 2024. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. Remy RA ST Felix

Court Case No:              1:23CR260-2
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   09/27/2024                      24.0                          Verified
         2                   09/28/2024                      24.0                          Verified
         3                   09/29/2024                      24.0                          Verified
         4                   09/30/2024                      24.0                          Verified
         5                   10/01/2024                      23.9                          Verified
         6                   10/02/2024                      23.9                          Verified
         7                   10/03/2024                      23.9                          Verified
         8                   10/04/2024                      23.9                          Verified
         9                   10/05/2024                      23.9                          Verified
        10                   10/06/2024                      23.9                          Verified
        11                   10/07/2024                      24.0                          Verified
        12                   10/08/2024                      23.9                          Verified
        13                   10/09/2024                      24.0                          Verified
        14                   10/10/2024                      24.0                          Verified
        15                   10/11/2024                      23.9                          Verified
        16                   10/12/2024                      23.9                          Verified
        17                   10/13/2024                      23.9                          Verified
        18                   10/14/2024                      23.9                          Verified
        19                   10/15/2024                      24.0                          Verified
        20                   10/16/2024                      23.9                          Verified
        21                   10/17/2024                      23.9                          Verified
        22                   10/18/2024                      23.8                          Verified
        23                   10/19/2024                      23.9                          Verified
        24                   10/20/2024                      23.9                          Verified
        25                   10/21/2024                      23.9                          Verified
        26                   10/22/2024                      23.9                          Verified
        27                   10/23/2024                      23.9                          Verified
        28                   10/24/2024                      23.9                          Verified
        29                   10/25/2024                      23.9                          Verified
        30                   10/26/2024                      23.8                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.




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